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                                          2


Rob Rock

From:                                  Hamlin, Shane <shane.hamlin@ericstates.org>
Sent:                                  Tuesday, January 12, 2021 3:40 PM
To:                                    Rob Rock
Cc:                                    Haas, Ericka; Whitt, Sarah
Subject:                               RE: [EXTERNAL]: EBU Follow- Up Data Request



CAUTION: This email originated from outside of the RI Department of State. Do not click links or open attachments unless you
reco nize the sender and know the content is safe.


Hi, Rob.

I've copied Ericka and Sarah to ask them to summarize the steps for getting data to CEIR.

-Shane


From: Rob Rock <rrock@sos.ri.gov>
Sent: Tuesday, January 12, 202111:41 AM
To: Hamlin, Shane <shane.hamlin@ericstates.org>
Subject: RE: [EXTERNAL]: EBU Follow-Up Data Request

So we use the same method as we send you our data every 60 days?

Rob Rock
                Director of Elections
                RI Department of State I Secretary of State Nellie M. Gorbea
                Email: rrock@sos.ri.gov I Website: www.sos.ri.gov I Twitter: @RISecState
                148 W. River Street, Providence RI 02904 I 401-222-2340

                  Our Mission: The Rhode Island Department of State engages and empowers all Rhode Islanders by making government more
accessible and transparent, encouraging civic pride, enhancing commerce and ensuring that elections are fair, fast and accurate.


COVID-19 {Coronavirus) Operations Alert
The RI Department of State remains open for business during this heightened time of concern for COV/D-19 (Coronavirus},
however, the Department is taking precautions to ensure the safety of our employees and customers. All in-person services
for the Elections Division are available by appointment only. Customers are encouraged to visit our website vote.ri.gov for
updated elections information. Elections staff are available by phone Monday - Friday from 8:30a.m. to 4:30p.m. at (401}
222-2340 or via email at elections@sos.ri.gov.




From: Hamlin, Shane <shane.hamlin@ericstates.org>
Sent: Tuesday, January 12, 202112:29 PM
To: Rob Rock <rrock@sos.ri.gov>
Cc: Steffen, Sally <sally@steffen-law.com >
Subject: RE: [EXTERNAL]: EBU Follow-Up Data Request

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reco nize the sender and know the content is safe.
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                                            2


Hi, Rob.

Yes, you're good to continue working with CEIR.

CEIR signed an NDA with ERIC for the purpose of assisting ERIC and ERIC members with independent research of ERIC's
effectiveness. The NDA applies to ERIC data and information that CEIR receives from ERIC or a member state of ERIC. It
includes detailed requirements and restrictions to protect your data/ERIC data.

To facilitate the secure transfer of ERIC and ERIC member data, data should be provided to CEIR via ERIC's secure sFTP
server. Member states should not transfer data directly to CEIR. (This should be the same process you used to provide
the EBU list to CEIR.)

Hope this helps.

-Shane


From: Rob Rock <rrock@sos.ri.gov>
Sent: Tuesday, January 12, 2021 8:04 AM
To: Hamlin, Shane <shane.hamlin@ericstates.org>
Subject: FW: [EXTERNAL]: EBU Follow-Up Data Request

Shane,
I believe we have an agreement with CEIR on data sharing but I want to double check on 2d. to make sure you are good
with that.

Rob

Rob Rock
                Director of Elections
                RI Department of State I Secretary of State Nellie M. Gorbea
                Email: rrock@sos.ri.gov I Website: www.sos.ri.gov I Twitter: @RISecState
                148 W. River Street, Providence RI 02904 I 401-222-2340

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222-2340 or via email at e/ections@sos.ri.gov.




From: Kyle Upchurch <kupchurch@electioninnovation.org>
Sent: Monday, January 11, 2021 5:12 PM
To: Rob Rock <rrock@sos.ri.gov>
Cc: Erica Frazier <efrazier@electioninnovation.org>; Jenny Lovell <jlovell@electioninnovation.org>; Jacob Kipp
<jkipp@electioninnovation.org>
Subject: [EXTERNAL]: EBU Follow-Up Data Request

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